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8                           UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   ALLAN LOYD CAGAS, an individual,       )          Case No.: 3:20-cv-02111-BEN-KSC
                        Plaintiff,          )
12
                                            )          ORDER GRANTING JOINT
13   v.                                     )          MOTION TO EXTEND TIME FOR
                                            )          DEFENDANT TO RESPOND TO
14   F/V PACIFIC HORIZON, IMO Number
                                            )          COMPLAINT
     8133023, her engines, tackle, apparel,
15                                          )
     furniture, and appurtenances, in rem;
                                            )          [ECF No. 3]
16   PACIFIC HORIZON FISHING, LLC (an
                                            )
     unknown business entity), in personam;
17                                          )
     and DOES 1 through 20, inclusive,
                                            )
18                      Defendant.          )
19
20   I.    INTRODUCTION
21         Plaintiff Allan Lloyd Cagas, an individual (“Plaintiff”) brings this action for personal
22   injuries sustained while working at sea against Defendants F/V Pacific Horizon, IMO
23   Number 8133023, her engines, tackle, apparel, furniture, and appurtenances, in rem, and
24   Pacific Horizon Fishing, LLC, an unknown business entity (“PHF”), in personam
25   (collectively, “Defendants”). ECF No. 1. Before the Court is Plaintiff and Defendant PHF’s
26   Joint Motion to Extend Time for Defendant PHF to respond to the complaint (the “Joint
27   Motion”). ECF No. 3. After considering the papers submitted, supporting documentation,
28   and applicable law, the Court GRANTS the Joint Motion.
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1    II.    BACKGROUND
2           On October 27, 2020, Plaintiff served his Seaman’s Verified Complaint, alleging
3    four claims for relief for: (1) Personal Injuries – Jones Act Negligence; (2)
4    Unseaworthiness; (3) Maintenance and Cure; and (4) Unpaid Wages. ECF No. 1.
5           On December 22, 2020, Plaintiff served Defendant PHF with the complaint,
6    meaning Defendant’s deadline to file a responsive pleading was January 8, 2021. ECF No.
7    3 at 2, ¶ 1. However, on January 7, 2021, Plaintiff and PHF filed a Joint Motion to Extend
8    the Time for PHF to respond to the complaint until January 28, 2021. Id. at ¶ 3.
9    III.   LEGAL STANDARD
10          Rule 12 of the Federal Rules of Civil Procedure requires a defendant to file a
11   responsive pleading within either (1) twenty-one days of being served with the summons
12   and complaint or (2) sixty days after the request for a waiver was sent. Pursuant to the
13   Local Rules, “[e]xtensions of time for answering, or moving to dismiss a complaint will
14   only be secured by obtaining the approval of a judicial officer, who will base the decision
15   on a showing of good case.” S.D. Cal. Civ. R. 12.1. Thus, “[i]n the Southern District,
16   court approval is required for any extension of time to answer or move to dismiss the
17   complaint.” Phillips, Virginia A., et al., Rutter Group Prac. Guide: Fed. Civ. Pro. Before
18   Trial, § 8:913 (The Rutter Group April 2020).
19   IV.    ORDER
20          The parties assert that good cause exists to grant the extension because of two
21   intervening holidays as well as the fact that the captain of the vessel involved in the events
22   described in the complaint has been at sea. ECF No. 3 at 2, ¶ 5. The Court finds good
23   cause exists for the extension. Thus, the Court GRANTS the Joint Motion. Defendant
24   PHF shall until January 28, 2021 to respond to the complaint.
25          IT IS SO ORDERED.
26    DATED:      January 11, 2021
27                                                          HON. ROGER T. BENITEZ
                                                             United States District Judge
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